     Case 17-05234-LT13             Filed 08/23/18     Entered 08/23/18 10:55:02   Doc 43    Pg. 1 of 1


                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF CALIFORNIA

                                                   Minute Order
Hearing Information:
                                                                                                              0.00
                     Debtor:   JOHN E ELLSWORTH
               Case Number:    17-05234-LT13              Chapter: 13
      Date / Time / Room:      THURSDAY, AUGUST 23, 2018 10:00 AM DEPARTMENT 3
       Bankruptcy Judge:       LAURA S. TAYLOR
        Courtroom Clerk:       SHAWNA ZUCCONI
          Reporter / ECR:      SUE ROSS

Matter:
              MOTION FOR RELIEF FROM STAY, RS # BDA-1 FILED ON BEHALF OF EXETER FINANCE LLC



Appearances:

        ELIZABETH BOOMER, ATTORNEY FOR EXETER FINANCE, LLC


Disposition:                                                                                    1.00


        Off calendar as resolved by stipulated adequate protection order.




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